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AO 106 (Rev. 07/19) Application for a Search Warrant


                                             United States District Court
                                                                             for the
                                                                   Western District of New York
                                             In the Matter of the Search of
                           (Briefly describe the property to be searched or identify the peison by name and address.)


 INFORMATION ASSOCIATED WITH DISCORD ACCOUNT USERNAME
 STEVEP14#2138 AND USER ID 749397452078972948.                                                                                       Case No. 21-MJ-555

                                                 APPLICATION FOR A SEARCH WARRANT
        I, ADAMT. PARADOWSKI, a federal law enforcement officer, request a search warrant and state under penalty
of perjury that I have reason to believe that on the following person or property (identify the person or describe the prope1ty to be searched
and give its location):
              See Attachment A, PROPERTY TO BE SEARCHED, attached hereto and incorporated herein by reference,

located in the Northem District of California, there is now concealed (identify the person or describe the property to be
seized):
          See Attachment B, PARTICULAR THINGS TO BE SEIZED, all of which is evidence, fruits and instrumentalities
 of violations of Title 1 8, United States Code, Sections 371, 245(b)(2 )(B), 249(a)(l ), 875(c), 922(g)(l), and
 15 12(b)(2)(B), as set forth in the attached affidavit, and all of which are more fully described in the application and
 affidavit filed in support of this warrant, the allegations of which are adopted and incorporated by reference as if
 fully set forth herein.

The basis for search under Fed. R. Crim. P. 4 1(c) is (check one or more):
       181 evidence of a crime;
       181 contraband, fruits of crime, or other items illegally possessed;
       181 property designed for use, intended for use, or used in committing a crime;
       □ a person to be arrested or a person who is unlawfully restrained.
The search is related to violations of Title 1 8, United States Code, Section 371, 245(b)(2 )(B), 2 49(a)(l), 875(c),
922(g)(l ), and 1 5 12(b)(2)(B).

The application is based on these facts:

            181   See affidavit in support of search warrant attached hereto and incorporated herein by reference.

        □ Delayed notice of __ days after the collection period authorized by the warrant (give exact ending date
if more than 30 days: ______) is requested under 1 8 U.S.C. § 3103a, the basis of which is set forth on the
attached sheet.
                                                                �---
                                                                                                                             Applicant's signature
                                                                                                       ADAMT. PARADOWSKI
                                                                                                       Special A gent. FBI
A pplication submitted electronically by email in .pdf                                                                       Primed name and title
format. Oath administered and contents and signatur
                                                     e
attested to me as true and accurate telephonically
pursuant to Fed. R. Crim. P.
                          1 4.1 and 4 (d)(3).


Date: """April 2, 2021
                                                                                                                                 Judge's signature
City and state: Rochester, New York
                                                                                                      HONORABLE MARK W. PEDERSEN
                                                                                                      United States Magistrate Judge. WDNY
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                AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT


State of New York )
County of Monroe )            SS:                                  Case No. 21-MJ-555
City of Rochester )


       I, ADAM T. PARADOWSKI, being duly sworn, depose and state the following:

                                       INTRODUCTION

       1.       I am a Special Agent with the Federal Bureau oflnvestigation (FBI), and have

served in this capacity for approximately two years. I am currently assigned to the Joint

Terrorism Task Force (JTTF), Buffalo Division, in Rochester, New York. At the JTTF, I work

with a team of federal, state, and local law enforcement agents and officers on investigations

relating to domestic and international terrorism. During my tenure with the FBI, I have also

attended intensive training on counterterrorism and other types of investigations, including

counterintelligence, white collar crime, public corruption, organized crime, and narcotics.

Prior to my employment with the FBI, I worked for approximately five years as a Border Patrol

Agent with the United States Customs and Border Patrol. I am familiar with digital evidence

commonly possessed and used by those involved in criminal activities. I have also conferred

with other    FBI   Special Agents who have expertise and experience in counterterrorism

investigations and digital evidence.


       2.       As a Special Agent with the   FBI,   I am a "[f]ederal law enforcement officer"

within the meaning of Rule 41(a)(2)(C) of the Federal Rules of Criminal Procedure, that is, a

government agent engaged in the enforcement of the criminal laws of the United States and

thereby authorized to request the issuance of federal search and seizure warrants.
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find the addresses of these Antifa leaders Alex [Comardo] 4 etc and they better hide because

between work and family I will be looking ..."


        21.      On or about July 28, 2020,PATTISON used the Facebook account ending in

1453 to communicate with several individuals in a group chat,including DON O'SHIER A/K/A

BAM, JOHN FINOCCHARIO AIKI A SPIDER,           and DAVE BERETTA A/K/A NINJA. During the chat,

PATTISON said     that R.P. (his girlfriend) told him that BLM were protesting at a salon on Ridge

Road.   FINOCCHARIO responded,"Retards." PATTISON then              said, "I'm so tired of this s*** ..

.I just want to smash them all I can't wait till the day we can ...No Remorse I'm a racist."

o'SHIER   said,"some of them jigs [which is a racial slur against African-Americans] came to

their senses and walked away ... but those          FUCKING RACE TRAITORS         [which I believe is a

reference to the white protesters] ... I SWEAR I WANT TO HANG THEM FROM                      A FUCKING

HOOK." FINOCCHARIO said,"They           didn't think 3 of us would hold up over 150 ...Let alone

swing," which I believe is a reference to the incident at the BLM protest in Rochester on July

19,2020,during which FINOCCHARIO tried to throw a punch at a BLM protester.Referring to

that incident,o'SHIER stated, "You guys showed true courage," and               BERETTA    stated, "Fkn

Stevie [PATTISON] and John      [FINOCCHARIO]     are St:raight Warriors Man."


        22.      On or about September 4,2020,PATTISON used the Facebook account ending

in 1453 to communicate with Facebook user               STEVEN CRUTCHFIELD. CRUTCHFIELD            asked

PATTISON,     "Ubeen fighting in riots?" PATTISON responded,"Yah it's supposed to get bad this

weekend." CRUTCHFIELD asked PATTISON, "Have u knock a blm protester out yet?" PATTISON



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 Based on information from other investigations, I know Alex Comardo to be a prominent figure of ANTIFA in
Rochester.

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PATTISON further stated that his group and other like-minded groups should work together

and "be there if we need like u live in Greece I live in Hilton that's close they break that city

line u gtfo and come or I get u idk that's just were I'm at open spaces flanking rushing good

gorilla warfare." After PATTISON indicated that he had seen a post that URQUHART had been

thrown out of a militia group, PATTISON stated, "This is y I'm getting pissed off literally people

wont stick together to save there own country and lives just get ur self a tight knit crew."

PATTISON later stated, "it's about staying alive keeping our familys safe and America so if u

cant put ur pride down for a min and come together than we will sure fall but small tight

groups and action is the only way." PATTISON continued, "If u ever get names and addresses

of Antifa or BLM in the city send em to me no questions asked and I'll do the same if u want."

Notably, the investigative team found photographs and addresses for suspected ANTIFA

members on PATTISON's cell phone. Based on the contents and context of these messages, I

believe that PATTISON and URQUHART were discussing the prospect of using their respective

groups to engage in guerilla warfare against ANITFA and BLM protesters.


       27.    On or about September 16, 2020, PATTISON used the Facebook account ending

in 1453 to communicate with Facebook user MATT SEGER. PATTISON and SEGER discussed

targeting a local tattoo artist from the Rochester area who they believed to be affiliated with

ANTIFA. PATTISON stated, "Well let's throw fuckin bricks threw his windows and when he

fixes them do it again. 0 I will prob smash his windows on a good night. I might target him

some night." SEGER replied, "Let me know when because I can be the alibi I can find out

where he is instigate an argument pick a fight with them why fuck shit up. Crystal knows how

bad that motherfucker did me wrong and then to find out he's a scum bag piece of shit antifa."

PATTISON replied, "Crystal will tell u about me I love beating up Antifa I've got 6 so far."

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                                                 ADAMT. PARADOWSKI
                                                 Special Agent
                                                 FBI


Application submitted electronically by
email in .pdf format. Oath administered
and contents and signature attested to me
as true and accurate telephonically
pursuant to Fed. R. Crim. P. 4.1 and
41(d)(3) on April 2, 2021.



HONORABLE MARK W. PEDERSEN
United States Magistrate Judge
Western District of New York




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